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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS
WESTERN DIVISION

CIVIL ACTION NO. 3:19-cv-30027

JANE DOE I AND JANE DOE I,
Plaintiffs,

VS,

CITY OF NORTHAMPTON, ANDREW

LINKENHOKER, SUPERINTENDANT,

(formerly PRINCIPAL), JOSEPH BIANCA,

PRINCIPAL, (formerly ASSISTANT PRINCIPAL),

KEVIN BROWN, BRIAN BAGDON, CODY

HANLON, MARY DOES and JOHN DOES I-V,
Defendants.

Nee ee” ee ee ee

ANSWER OF THE DEFENDANTS, CITY OF NORTHAMPTON,
ANDREW LINKENHOKER, JOSEPH BIANCA, AND KEVIN BROWN TO THE
FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
NOW COME the Defendants, CITY OF NORTHAMPTON, ANDREW
LINKENHOKER, JOSEPH BIANCA, and KEVIN BROWN (“Defendants”), and in answer to

the Plaintiffs’ Complaint (“Complaint”), by the counts and paragraphs numbered therein, says:

INTRODUCTION
1, The Defendants admit the allegations contained in Paragraph 1 of the Plaintiffs’
Complaint.
2, The Defendants admit the allegations contained in Paragraph 2 of the Plaintiffs’
Complaint.
3, The Defendants neither admit nor deny the allegations contained in Paragraph 3

of the Plaintiffs’ Complaint as they are without knowledge or information sufficient to form a
belief as to the truth of the allegations contained therein and leave the plaintiffs to their burden of

proof.

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4, The Defendants neither admit nor deny the allegations contained in Paragraph 4
of the Plaintiffs’ Complaint as they are without knowledge or information sufficient to form a
belief as to the truth of the allegations contained therein and leave the plaintiffs to their burden of
proof.

5. The Defendants neither admit nor deny the allegations contained in Paragraph 5
of the Plaintiffs’ Complaint as they are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained therein and leave the plaintiffs to their burden of

proof.

6. The Defendants admit the allegations contained in Paragraph 6 of the Plaintiffs’
Complaint.

7, The Defendants admit the allegations contained in Paragraph 7 of the Plaintiffs’
Complaint,

8. The Defendants admit the allegations contained in Paragraph 8 of the Plaintiffs’
Complaint.

9, The Defendants neither admit nor deny the allegations contained in Paragraph 9

of the Plaintiffs’ Complaint as they are without knowledge or information sufficient to form a
belief as to the truth of the allegations contained therein and leave the plaintiffs to their burden of
proof.

10. The Defendants say that the allegations as contained in Paragraph 10 do not —
require a response as the document referred to therein speaks for itself. Further answering, to the
extent that Paragraph 10 as deemed to allege any wrongdoing on the part of the Defendants, the
Defendants deny the same.

11. The Defendants admit the allegations contained in Paragraph 11 of the Plaintiffs’

Complaint.

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SUMMARY OF FACTS

12, The Defendants deny the allegations contained in Paragraph 12 of the Plaintiffs’
Complaint.

13. The Defendants deny the allegations contained in Paragraph 13 of the Plaintiffs’
Complaint.

14, The Defendants deny the allegations contained in Paragraph 14 of the Plaintiffs’
Complaint.

15, The Defendants deny the allegations contained in Paragraph 15 of the Plaintifts’
Complaint.

16. The Defendants deny the allegations contained in Paragraph 16 of the Plaintiffs’
Complaint.

17. The Defendants neither admit nor deny the allegations contained in Paragraph 17
of the Plaintiffs’ Complaint as they are without knowledge or information sufficient to form a
belief as to the truth of the allegations contained therein and leave the plaintiffs to their burden of
proof,

18. The Defendants deny the allegations contained in Paragraph 18 of the Plaintiffs’
Complaint.

19, The Defendants neither admit nor deny the allegations contained in Paragraph 19
of the Plaintiffs’ Complaint as they are without knowledge or information sufficient to form a
belief as to the truth of the allegations contained therein and leave the plaintiffs to their burden of
proof,

20. The Defendants deny the allegations contained in Paragraph 20 of the Plaintiffs’

Complaint.

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21.

Complaint.

22.

Complaint.

23,

Complaint.

24,

Complaint.

25,

Complaint.

26.

Complaint,

27.

Complaint.

28.

Complaint.

29.

Complaint.

30.

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The Defendants deny the allegations contained in Paragraph 21 of the Plaintiffs’

The Defendants deny the allegations contained in Paragraph 22 of the Plaintiffs’

The Defendants deny the allegations contained in Paragraph 23 of the Plaintiffs’

The Defendants deny the allegations contained in Paragraph 24 of the Plaintiffs’

The Defendants deny the allegations contained in Paragraph 25 of the Plaintiffs’

The Defendants deny the allegations contained in Paragraph 26 of the Plaintiffs’

The Defendants deny the allegations contained in Paragraph 27 of the Plaintiffs’

The Defendants deny the allegations contained in Paragraph 28 of the Plaintiffs’

The Defendants deny the allegations contained in Paragraph 29 of the Plaintiffs’

Count I: Negligence — City of Northampton through the
Board of Trustees of Smith Vocational High School

The Defendants repeat and reallege their answers to the allegations contained in

Paragraphs 1 through 29 of the Plaintiffs’ Complaint and incorporates them herein by reference.

31.

Complaint.

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The Defendants deny the allegations contained in Paragraph 31 of the Plaintiffs’
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32,

Complaint,

33,

Complaint.

34,

Complaint.

35,

Complaint.

36.

Complaint.

37,

Complaint.

38.

Complaint.

39,

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The Defendants deny the allegations contained in Paragraph 32 of the Plaintiffs’

The Defendants deny the allegations contained in Paragraph 33 of the Plaintiffs’

The Defendants deny the allegations contained in Paragraph 34 of the Plaintiffs’

The Defendants deny the allegations contained in Paragraph 35 of the Plaintiffs’

The Defendants deny the allegations contained in Paragraph 36 of the Plaintiffs’

The Defendants deny the allegations contained in Paragraph 37 of the Plaintiffs’

The Defendants deny the allegations contained in Paragraph 38 of the Plaintiffs’

Count II: 42 U.S.C. § 1983 — Andrew Linkenhoker

The Defendants repeat and reallege their answers to the allegations contained in

Paragraphs | through 38 of the Plaintiffs’ Complaint and incorporates them herein by reference.

40,

The Defendants neither admit nor deny the allegations contained in Paragraph 40

of the Plaintiffs’ Complaint as they are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained therein and leave the plaintiffs to their burden of

proof.

41,

Complaint.

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The Defendants deny the allegations contained in Paragraph 41 of the Plaintiffs’
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42,
Complaint.
43,
Complaint.
44,
Complaint.
45.

Complaint.

46,

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The Defendants deny the allegations contained in Paragraph 42 of the Plaintiffs’

The Defendants deny the allegations contained in Paragraph 43 of the Plaintiffs’

The Defendants deny the allegations contained in Paragraph 44 of the Plaintiffs’

The Defendants deny the allegations contained in Paragraph 45 of the Plaintiffs’

Count Hl: 42 U.S.C. § 1983 — Joseph Bianca

The Defendants repeat and reallege their answers to the allegations contained in

Paragraphs 1 through 45 of the Plaintiffs’ Complaint and incorporates them herein by reference.

47,

The Defendants neither admit nor deny the allegations contained in Paragraph 47

of the Plaintiffs’ Complaint as they are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained therein and leave the plaintiffs to their burden of

proof.
48,
Complaint.
49,
Complaint.
50.
Complaint.
51.

Complaint.

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The Defendants deny the allegations contained in Paragraph 48 of the Plaintiffs’

The Defendants deny the allegations contained in Paragraph 49 of the Plaintiffs’

The Defendants deny the allegations contained in Paragraph 50 of the Plaintiffs’

The Defendants deny the allegations contained in Paragraph 51 of the Plaintiffs’
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52. The Defendants deny the allegations contained in Paragraph 52 of the Plaintiffs’

Complaint.
Count TV: 42 U.S.C. § 1983 — Kevin Brown

53. The Defendants repeat and reallege their answers to the allegations contained in
Paragraphs 1 through 52 of the Plaintiffs’ Complaint and incorporates them herein by reference.

54. The Defendants neither admit nor deny the allegations contained in Paragraph 54
of the Plaintiffs’ Complaint as they are without knowledge or information sufficient to form a
belief as to the truth of the allegations contained therein and leave the plaintiffs to their burden of
proof,

55. The Defendants deny the allegations contained in Paragraph 55 of the Plaintiffs’
Complaint.

56. The Defendants deny the allegations contained in Paragraph 56 of the Plaintiffs’
Complaint.

57, The Defendants deny the allegations contained in Paragraph 57 of the Plaintiffs’
Complaint.

58. The Defendants deny the allegations contained in Paragraph 48 of the Plaintiffs’
Complaint.

Count V: Assault — Cody Hanlon

59, The Defendants repeat and reallege their answers to the allegations contained in
Paragraphs 1 through 58 of the Plaintiffs’ Complaint and incorporates them herein by reference.

60. The Defendants state they need not respond to Paragraph 60 of the Plaintiffs’
Complaint as allegations do not relate to them.

61. The Defendants state they need not respond to Paragraph 61 of the Plaintiffs’

Complaint as allegations do not relate to them.

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Count VI: Battery — Cody Hanlon

62. The Defendants repeat and reallege their answers to the allegations contained in
Paragraphs 1 through 61 of the Plaintiffs’ Complaint and incorporates them herein by reference.

63. The Defendants state they need not respond to Paragraph 63 of the Plaintiffs’
Complaint as allegations do not relate to them.

64. | The Defendants state they need not respond to Paragraph 64 of the Plaintiffs’
Complaint as allegations do not relate to them.

Count VII: Intentional Infliction of Emotional Distress — Cody Hanlon

65. The Defendants repeat and reallege their answers to the allegations contained in
Paragraphs | through 64 of the Plaintiffs’ Complaint and incorporates them herein by reference.

66. | The Defendants state they need not respond to Paragraph 64 of the Plaintiffs’
Complaint as allegations do not relate to them.

67. The Defendants state they need not respond to Paragraph 64 of the Plaintiffs’
Complaint as allegations do not relate to them.

Count VIII: Negligent Infliction of Emotional Distress —

City of Northampton through the Board of Trustees of
Smith Vocational High School

M.G.L. ¢. 258, s. 2

68. The Defendants repeat and reallege their answers to the allegations contained in
Paragraphs 1| through 67 of the Plaintiffs’ Complaint and incorporates them herein by reference.

69. The Defendants deny the allegations contained in Paragraph 69 of the Plaintiffs’
Complaint.

70. The Defendants deny the allegations contained in Paragraph 70 of the Plaintiffs’
Complaint.

71. | The Defendants deny the allegations contained in Paragraph 71 of the Plaintifts’

Complaint.

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72. The Defendants deny the allegations contained in Paragraph 72 of the Plaintiffs’

Complaint.
Count IX: Loss of Consortium — City of Northampton through the
Board of Trustees of Smith Vocational High School
M.G.L. ¢. 258, s. 2
73. The Defendants repeat and reallege their answers to the allegations contained in

Paragraphs | through 72 of the Plaintiffs’ Complaint and incorporates them herein by reference.
74, The Defendants deny the allegations contained in Paragraph 74 of the Plaintiffs’
Complaint.

75, The Defendants deny the allegations contained in Paragraph 75 of the Plaintiffs’

 

Complaint.
Count X: Defamation — Joseph Bianca, Mary and John Does I-V
and the City of Northampton through the Board of Trustees of
Smith Vocational High School
76. The Defendants repeat and reallege their answers to the allegations contained in

Paragraphs | through 75 of the Plaintiffs’ Complaint and incorporates them herein by reference.

77. The Defendants deny the allegations contained in Paragraph 77 of the Plaintiffs’
Complaint.

78. The Defendants deny the allegations contained in Paragraph 78 of the Plaintiffs’
Complaint.

79. The Defendants deny the allegations contained in Paragraph 79 of the Plaintiffs’

Complaint.

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AFFIRMATIVE DEFENSES
FIRST DEFENSE
The Defendants say that if they were negligent as alleged which they specifically deny,
the negligence of the Plaintiffs was greater than the alleged negligence of the Defendants and,
therefore, the Plaintiffs cannot recover.
SECOND DEFENSE
The Defendants say that the Plaintiffs’ own negligence contributed to the cause of the
incidents and, therefore, the recovery of damages, if any, must be reduced in accordance with the
law.
THIRD DEFENSE
The Defendants say that the incidents as alleged in the Plaintiffs’ Complaint were not
caused by any person for whose conduct the Defendants are legally responsible.
FOURTH DEFENSE
The Plaintiffs are not entitled to recover as the Complaint does not set forth a claim upon
which relief can be granted.
FIFTH DEFENSE
In further answering, the Defendants say that the Plaintiffs’ claim is frivolous and not
made in good faith, and the Defendants, therefore, demand their costs and attorney's fees
pursuant to G.L. c. 231, §6F.
SIXTH DEFENSE
The injuries for which the Plaintiffs are seeking damages are unrelated to the incidents

and, therefore, the Plaintiffs are not entitled to recover.

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SEVENTH DEFENSE
The Defendants say that if Plaintiffs were injured as alleged, such was due to the acts or
negligence of another, which constitute an intervening, superseding cause and, therefore,
Defendants are not liable.
EIGHTH DEFENSE
Plaintiffs have waived or should be estopped from asserting some or all of the claims set
forth in the Complaint.
NINTH DEFENSE
The Defendants say that they are immune from liability in this case.
TENTH DEFENSE
The Defendants say that M.G.L. c. 258, § 10 precludes the imposition of liability in this
case.
ELEVENTH DEFENSE
The Defendants cannot be held liable for violating the civil rights of the Plaintiffs as there
has been no official or unofficial policy, custom, ordinance, regulation, or practice resulting in
the deprivation of constitutional rights alleged.
TWLEFTH DEFENSE
The doctrine of qualified immunity precludes the imposition of liability.
TWELFTH DEFENSE
The Defendants say that they are immune from liability for damages for any violation of
the Plaintiffs’ civil rights under federal or state law since their conduct at all relevant times was

in good faith, without malice and not in disregard of settled principles of constitutional law.

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THIRTEENTH DEFENSE
The Defendants state that a civil rights action against the Defendants must fail since they
cannot be held liable under the respondeat superior doctrine and the Plaintiffs have failed to
show that the Defendants caused the alleged constitutional violation.
FOURTEENTH DEFENSE
The Defendants state that plaintiffs have failed to set forth an actionable claim, pursuant
to 42 USC § 1983 since the plaintiffs are unable to establish that there was a deliberate
indifference to the rights of its inhabitants or that the alleged deficiency is related to plaintiffs’
alleged injuries.
THE DEFENDANTS HEREBY DEMAND A TRIAL BY JURY ON ALL ISSUES
SO TRIABLE.

Respectfully submitted,

THE DEFENDANTS,

CITY OF NORTHAMPTON, ANDREW
LINKENHOKER, JOSEPH BIANCA, and
KEVIN BROWN

Dated: August 23, 2019 By____/s/ Nancy Frankel Pelletier
Nancy Frankel Pelletier, Esq.,BBO# 544402

 

~and~

By___/s/ David S. Lawless

David S. Lawless, Esq.-BBO #664754
Both of

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npelletier@robinsondonovan.com
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CERTIFICATE OF SERVICE

I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants** on this 23" day
of August 2019.

** Cody Hanlon
5 Bofat Road
Chesterfield, MA 01012

/s/ Nancy Frankel Pelletier
Nancy Frankel Pelletier, Esq.

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